            Case 2:23-cv-02465-JAR Document 1 Filed 10/16/23 Page 1 of 5



                                                                                       FILED
                                                                                  U.S . Distri ct Court
                                                                                  Distri ct of Kansa s
                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS                        OCT 16 2023




~ 1t1 SCAS    c_,H, ks                ~
                                  lo(o oY
(Enter above the full name of the Plaintiff(s)
                                                                         2:23-cv-02465-JAR-ADM
vs.                                                    Case Number- - - - - - -




(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
                                       CIVIL COMPLAINT

I.     Parties to this civil action:

       (In item A below, place your name in the first blank and place your present address in the
       second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

       A.      Name of plaintiff .1-:x:AtCAS     Pe:rez_
               Address -~(o36           1/\J &;:}7-~ 5~ kanSc~s c\"~, k .s
               l~~JrH




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       B.     (If applicable) Jurisdiction founded on grounds other than diversity
       (Check any of the following which apply to this case).


         □ 1.          This case arises under the following section of the Constitution of
                       the United States or statute of the United States (28 U.S.C. §1331):
                       Constitution, Article_ _, Section_ _
                       Statute, US Code, Title_ _ , Section_ _

                       This case arises because of violation of the civil or equal rights,
                       privileges, or immunities accorded to citizens of, or persons within
                       the jurisdiction of, the United States (28 U.S.C. §1343).

                       Other grounds (specify and state any statute which gives rise to such
                       grounds):




III.   Statement of Claim:

(State here a short and plain statement of the claim showing that plaintiff is entitled to
relief. State what each defendant did that violated the right(s) of the plaintiff, including
dates and places of such conduct by the defendant(s). Do not set faith legal arguments.
If you intend to allege more than one claim, number and set faith each claim in a separate
paragraph. Attach an additional sheet, if necessary, to set forth a sho1t and plain statement
of the claim[s].)

We. 1?rocess o9- loss of;-



IV.    Relief:

(State briefly exactly what judgement or relief you want from the Comt. Do not make
legal arguments.)


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V.      Do you claim the wr~Jlleged in your complaint are continuing to occur at the
present time? Yes I I    NoLY:f

VI.    Do you claim actual damages for the acts alleged in your complaint?
       Yesg NoD                              •

VII.   Do you claim punitive monetary damages? Yes      d      No C l


If you answered yes, state the amounts claimed and the reasons you claim you are entitled
to recover money damages.

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      VIII.   Administrative Procedures:

              A.     Have the claims which you make in this civil action been presented through
              any type of Administrative Procedure within any government agency?
              YesD N o ~             I



              B.     If you answered yes, give the date your claims were presented,
              how they were presented, and the result of that procedure:




              C.      If you answered no, give the reasons, if any, why the claims made in this
              action have not been presented through Administrative Procedures:




IX.   Related Litigation:

      Please mark the statement that pertains to this case:

       □             This cause, or a substantially equivalent complaint, was previously filed in
                     this comt as case number _ __ ____ and assigned to the Honorable
                     Judge _ _ __ _ _ _ _ _ _ _ __

                     Neither this cause, nor a substantially equivalent complaint, previously has
                     been filed in this court, and therefore this case may be opened as an original
                     proceeding.




                                                    Name (Print or Type)




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         Case 2:23-cv-02465-JAR Document 1 Filed 10/16/23 Page 5 of 5




                                                ~nSo-S     C\ ~ I \lS l.oloIoY
                                                City        State       Zip Code

                                                 q\3-~s~ - 944 ~
                                                Telephone Number


                           DESIGNATION OF PLACE OF TRIAL

Plaintiff designates ..LOWichita, [v!kansas City, or OTopeka} , Kansas as the
                                       (Select One)
location for the trial in this matter.


                                                ~ ~--==
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                            REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { J37fyes or ONo }
                                     (Select One)




Dated: /1) -/ / cz</J2.5
 (Rev. 10/15)




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